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                                      UNITED STATES DISTRICT COURT
                                               MIDDLE DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                                        JUDGMENT IN A CRIMINAL CASE

 V.

                                                                                 Case Number: 3:18-CR-00164-SDD-EWD(1)
 MICHAEL D. GIBBS, a/k/a "BG"                                                    USM Number: 98263-479
                                                                                 Brent M. Stockstill
                                                                                 Defendant's Attorney


THE DEFENDANT:
 E     pleaded guilty to count(s)                                1 and 3 of the Indictment
       pleaded guilty to count(s) before a U.S. Magistrate
 D     Judge, which was accepted by the court.
       pleaded nolo contendere to count(s) which was
 a     accepted by the court
 D     was found guilty on count(s) after a plea of not guilty


The defendant is adjudicated guilty of these offenses;
 Title & SectiojL/Nature ofOffense                                                                      Offense Ended        Count
 18:1349 & 18:2 / Conspiracy to Commit Bank Fraud                                                       10/31/2017           1
 18:1344& 18:2 /Bank Fraud                                                                              10/20/2016           3




The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.


 D The defendant has been found not guilty on count(s)

 |X| Count(s) 2, 4, 5,6 F-1 is |X| are dismissed on the motion of the United States.


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.




                                                                   July 8,2021
                                                                   Date of Imposition of Judgment




                                                                   Signature of Judge
                                                                                              ^/^.^
                                                                   SHELLY D. DICK
                                                                   UNITED STATES DISTRICT CHIEF .TIJDGE
                                                                   Name and Title of Judge

                                                                              2r/2. 02-/
                                                                  Date/           ~7 —-/
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DEFENDANT: MICHAEL D GIBBS
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                                                     IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:


96 months as to counts 1 and 3, to run concurrently. It is ordered that the defendant's sentence run concurrent to any sentence
that may be imposed in the 3rd District Court, Live Oak, Florida, Docket Number 2017CF564.


       The court makes the following recommendations to the Bureau of Prisons;
        The defendant be placed in a facility capable of providing substance abuse treatment, cognitive-behavioral treatment,
        educational training and vocational training.


 EX] The defendant is remanded to the custody of the United States Marshal.


 a The defendant shall surrender to the United States Marshal for this district:


          F]       at       D       a,m.            D       p.m.            on


          Q as notified by the United States Marshal.


 D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


          D before 2p.m. on

          D as notified by the United States Marshal.
          a as notified by the Probation or Pretrial Services Office.




                                                           RETURN
I have executed this judgment as follows:



        Defendant delivered on to



at_ , with a certified copy of this judgment.




                                                                                        UNITED STATES MARSHAL

                                                                                                   By
                                                                                    DEPUTY UNITED STATES MARSHAL
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DEFENDANT: MICHAEL D GIBBS
CASE NUMBER: 3:1 8-CR-OO 164-SDD-EWD( 1)


                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:


5 years on Counts i and 3, to run concurrently.




                                            MANDATORY CONDITIONS

 1. You must not commit another federal, state or local crime.

 2. You must not unlawfully possess a controlled substance.

 3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
     release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           Q The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse, (check if applicable)
 4. Fxt You must make restitution in accordance with 18 U.S.C. § 3663 and 3663A or any other statute authorizing a sentence of
           restitution, (check if applicable)
 5. [x] You must cooperate in the collection ofDNA as directed by the probation officer, (check if applicable)

 6. Q You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
          seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
           where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7, [~] You must participate in an approved program for domestic violence, {check if 'applicable)


          The defendant must comply with the standard conditions that have been adopted by this court as well as with any
 additional conditions on the attached page.
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DEFENDANT: MICHAEL D GIBBS
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                                STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, or if placed on probation, within 72 hours of the time you were sentenced, unless the probation officer
instructs you to report to a different probation office or within a different time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours
of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any tune at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of supervision that the probation officer observes m plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as the position orjob responsibilities),
you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change
or expected change.
8. You must not communicate or interact with someone you know is engaged m criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified, for the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person
and confirm that you have notified the person about the risk.
13. You must follow the insiTuctions ofthe probation officer related to the conditions of supervision.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at the www.uscourts.gov.


 Defendant's Signature _____ Date
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DEFENDANT: MICHAEL D GIBBS
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                               SPECIAL CONDITIONS OF SUPERVISION

You must participate in a substance abuse assessment and/or treatment program. While participating in the program, you
must follow the rules and regulations of that program. The probation officer will supervise your participation in the program
(provider, location, modality, duration, intensity, etc.). You must pay the costs of the substance abuse assessment and/or
treatment program, to the extent you are financially able to pay. The U.S. Probation Office must determine your ability to
pay and any schedule for payment, subject to the Court's review upon request.


You must submit to substance abuse testing to determine if you have used a prohibited substance, You must assist in the
cost of the testing, as approved by the probation officer. You must not attempt to obstruct or tamper with the testing methods.


You must not purchase, possess, distribute, administer or otherwise use any controlled substances or psychoactive
substances (including but not limited to synthetic marijuana) that impair a person's physical or mental functioning without
a valid prescription. If you have a valid prescription^ you must disclose the prescription information to the probation officer
and follow the instructions on the prescription.


You must participate in a cognitive-behavloral treatment program and follow the rules and regulations of that program. The
probation officer will supervise your participation in the program (provider, location, modality, duration, intensity, etc.).
Such programs may include group sessions led by a counselor or participation in a program administered by the probation
office. You must pay the costs of the cognitive-behavioral treatment program, to the extent you are financially able to pay.
The U.S. Probation Office must determine your ability to pay and any schedule for payment, subject to the Court's review
upon request.


You must participate in an educational services program and follow the rules and regulations of that program. Such programs
may include high school equivalency preparation, English as a Second Language classes, and other classes designed to
improve your proficiency in skills such as reading, writing, mathematics, or computer use. You must pay the costs of the
educational services program, to the extent you are financially able to pay. The U.S. Probation Office must determine your
ability to pay and any schedule for payment, subject to the Court's review upon request.


You must participate in a vocational services program and follow the rules and regulations of that program. Such a program
may include job readiness training and skills development training. You must pay the costs of the vocational services
program, to the extent you are financially able to pay. The U.S. Probation Office must determine your ability to pay and
any schedule for payment, subject to the Court's review upon request.

You must provide the probation officer with access to any requested financial information and authorize the release of any
financial information. The probation office may share financial information with the U.S. Attorney's Office.


You must not incur new credit charges, or open additional lines of credit, without the approval of the probation officer.


If the judgment imposes a financial penalty, you must pay the financial penalty in accordance with the Schedule of Payments
sheet of the judgment. You must also notify the court, through the probation officer, of any changes in economic
circumstances that might affect the ability to pay this financial penalty.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 1 8 U.S.C. § 1030(e)(l)),
other electronic communications or data storage devices or media, or office, to a search conducted by a United States
probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other occupants
that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a search under
this condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to
be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable
manner.
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DEFENDANT:                    MICHAEL D GIBBS
CASE NUMBER:                  3:18-CR-00164-SDD-EWD(1)


                                         CRIMINAL MONETARY PENALTIES
     The defendant must paythe total criminal monetary penalties under the schedule of payments on Sheet 6,
                         Assessment           Restitution               Fine | AVAA Assessment* I JVTA Assessment**
 TOTALS                     $200.00          $224,068.00                $.00                    $.00            $.00

 [~] The determination of restitution is deferred until An Amended Judgment m a Criminal Case (A0245C) will be entered
      after such determination.
 [E] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18U.S.C.
         § 3664(1), all nonfederal victims must be paid before the United States is paid.

Restitution of $224,068 to:

        A.F.                           $520.00

        A.K.                           $1,460.00

        A.M.                           $150.00

        A.S,                           $730.00

         B.F.                          $690.00

        B.S.                           $780.00

        C.G.                           $270.00

        C,L.                           $170.00

        Capital One Bank               $4,500.00

        c.s.                           $720.00

        D.L.                           $285.00

        D.R.                           $90.00

        Iberia Bank                    $42,550.00

        Investar Bank                  $26,600.00

        J.A.                           $250.00

        J.B.                           $200.00

        J.H.B.                         $5,300,00

        J.G.                           $1,160.00

        J.H.                           $480.00

        J.M.                           $915.00

        JP Morgan Chase Bank $5,800.00
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     J.P. $520.00

     J.R. $550.00

     K.C. $580.00

     K.C.2 $2,000.00

     K.G. $355.00

     K.P. $420.00

     K.S. $900.00

     K.S.2 $743.00

     K.Z. $450.00

     L.F. $6,890.00


     L.H, $500.00

     L.L. $70.00

     L.M. $2,600.00

     M.B, $33,580.00

     M.L.K. $400.00


     M,M. $1,110.00

     M.O. $480.00

     M.R. $380.00

     M.R.2 $330.00

     M,S. $320.00

     N.C. $380.00

     N.L. $1,150.00


     N;S. $100.00

     N.T. $5,450.00


     P.P.     $70.00


     P.R. $450.00

     R.B. $47,100.00

     RJ. $1,760.00
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DEFENDANT:                   MICHAEL D GIE
CASE NUMBER:                 3:18-CR"00164"S:

          R.M.                         $90.00

          S.A.                         $1,220.00

          S.D.                         $1,400.00

         S.H.                          $4,600.00

         S.H.2                         $20.00

         S.M.                          $390.00

         S.M.2                         $850.00

         s.u                           $940.00

         V,H.                          $11,300.00

Of the restitution listed above, the following is joint and several:

Restitution in the amount of $915 for victim J.M. and $2,000 for victim K.C, is ordered joint and several withNatasha Hammett(17-
81-BAJ-RLB).
Restitution intheamountof $1,460 for victim A.K. and $2,186 for victim V.H. is ordered joint and several with Tina Eggleston (17-
136-JWD-EWD).
Restitution in the amount of $1,110 for victim M.M., $940 for victim S.U., and $17,850 for victim Regions Bank is ordered joint and
several with Erin Brown (17-80-SDD-EWD).
Restitution in the amount of $5,450 for victim N.T,, $660 for victim K.S., and $750 for victim K.C. is ordered joint and several with
Johnny J. Jones (17-137-JWD-EWD).
Restitution in the amount of $5,450 for victim N.T., $660 for victim K.S., and $750 for victim K,C. is ordered joint and several with
Alien R. Clark (18-9-SDD-EWD).
Full restitution in the amount of $224,068 is ordered joint and several with Brandon J. Gassett (18-164-SDD-EWD-2).

 Q Restitution amount ordered pursuant to p!ea agreement $

 \~\ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        [Xj the interest requirement is waived for the Q fine [x] restitution
        Q the interest requirement for the Q fine Q restitution is modified as follows:


*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015,Pub. L. No. 1 14-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 foroffenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT: MICHAEL D GIBBS
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                                                     SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A Q Lump sum payments of $ __________ due immediately, balance due


        [~] not later than , or

        Q in accordance Q C, Q D, Q E, or Q F below; or

 B |x| Payment to begin immediately (may be combined with Q C, [~] D, or [Xj F below); or

 C [~] Payment in equal , (e.g., weekly, monthly, quarterly) installments of $ ,,,,„,. over a period of

                                     (e.g., months oryears), to commence _ (e'g'i ^0 or 60 days) after the date of this judgment;
               or


 D [~] Payment in equal 20 ^e.^., wee/c/^/, monthly, quarterly) installments of $ _ over a period of
                                     (e.g., months or years), to commence _ (e.g., 30 or 60 days) after release from
               imprisonment to a term of supervision; or

 E [~] Payment during the term of supervised release will commence within ,___, (e.g., 30 or 60 days) after release
               from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that
               time; or


 F [Xl Special instructions regarding the payment of criminal monetary penalties:
               It is ordered that the Defendant shall pay to the United States a special assessment of $200.00 for Counts 1 and 3,
               which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment,paymentof criminal monetaiy penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 EX3 Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (inchidmg defendant number). Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.
 a The defendant shall pay the cost of prosecution.
 a The defendant shall pay the following court cost(s):
 [Xj The defendant shall forfeit the defendant's interest in the following property to the United States:
        Pursuant to 18 U.S.C. § 982(a)(2)(A) the defendant shall forfeit to the United States all property, real or personal, constituting or
        derived from the proceeds of the said violation, including but not limited to a sum of money, specifically, $72,103.36, representing
        the value of the proceeds associated with this offense.

Payments shail be applied in the following order; (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment., (8) penalties, and (9) costs, including cost of prosecution and court cosls.
